    2:17-cv-14148-ELC-DPH-GJQ    Doc # 50      Filed 04/17/18   Pg 1 of 3   Pg ID 926




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


                     _________
LEAGUE OF WOMEN VOTERS                         :
OF MICHIGAN, et al.,                           :
                                               :
                   Plaintiffs,                 :      Civil Action No. 17-cv-14148
                                               :
                   v.                          :
                                               :
RUTH JOHNSON, in her official                  :
capacity as Michigan Secretary of State        :
                                               :
                   Defendant.                  :
                                               :
                                               :
	

PROPOSED CONGRESSIONAL INTERVENORS JACK BERGMAN, BILL
  HUIZENGA, JOHN MOOLENAAR, FRED UPTON, TIM WALBERG,
 MIKE BISHOP, PAUL MITCHELL, AND DAVID TROTT’S AMENDED
                    NOTICE OF APPEAL


       Pursuant to 28 U.S.C. § 1291, and pursuant to the collateral order exception

under the Cohen doctrine, see, e.g., Purnell v. Akron, 925 F.2d 941, 944 (6th Cir.

1991), Proposed Congressional Intervenors Jack Bergman, Bill Huizenga, John

Moolenaar, Fred Upton, Tim Walberg, Mike Bishop, Paul Mitchell, and David

Trott, appeal to the United States Court of Appeals for the Sixth Circuit this

Court’s ruling on April 4, 2018 (Dkt. No. 47) denying intervention.




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Dated: April 17, 2018                               Respectfully submitted,



HOLTZMAN VOGEL JOSEFIAK                      CLARK HILL PLC
TORCHINSKY PLLC



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                            CERTIFICATE OF SERVICE

       On April 17, 2018, I certify that I filed the foregoing with the Clerk of the

Court using the CM/ECF system, which then sent a notification of electronic filing

to all counsel of record.



                               ___/s/_Phillip Gordon______

                                    Phillip Gordon




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